FBI

AO 442 (Rev. 01/09) Arrest Warrant

UNITED STATES DISTRICT COURT
for the

Eastern District of Tennessee

United States of America

 

 

Vv. )
Case No. som. (OWI
NELSON PAUL REPLOGLE )
)
Defendant
ARREST WARRANT
To: Any authorized law enforcement officer

YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessary delay

(name of person to be arrested) NELSON PAUL REPLOGLE
who is accused of an offense or violation based on the following document filed with the court:

O Indictment © Superseding Indictment 1 Information C) Superseding Information ral Complaint

1 Probation Violation Petition C1 Supervised Release Violation Petition Violation Notice O Order of the Court

This offense is briefly described as follows:
Murder for hire, in violation of Title 18, United States Code, Section 1958.

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Issuing officer’s siggature

City and state: KWouville, WN “Debora C-Poplin UU. & Mog\strade Judge

Pr “nth name and title 7

 

Return

This warrant was received on (date) _&F /2/ oo al , and the person was arrested on (date) f/f A2f/A/
at (city and state) A 0 tf ie. FRY,

Date: of fA? [af LZ Lk——

4rresting officer’s signature

Clas) LA. Agdl reo. A J fel [al

 

Printed name and title

 

 

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AO 91 (Rev. 08/09) Criminal Complaint

UNITED STATES DISTRICT COURT

for the

Eastern District of Tennessee

 

United States of America )
Vv. ) \
) Case No. 3:21-MJ- \OW \___
)
NELSON PAUL REPLOGLE
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of April 20, 2021 ___ in the county of Knox in the
Eastern District of Tennessee , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 1958 Murder for hire.

This criminal complaint is based on these facts:

Please see that Affidavit of FBI Special Agent Clay M. Anderson which is attached hereto and fully
incorporated herein.

i Continued on the attached sheet.

 

AE 7 Z
IAG
<4
é Complainant's signature

Clay M. Anderson, FB] Special Agent _
Printed name and title.

Sworn to before me and signed in my presence.

 

Date: ir | 202! oe Op me ere
Judge’ 5 signature. :

= 3
City and state: Knoxville j IW _ Debra C. Poplin, United States Magistrate Tepe
t

Printed name and title

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Case Nod-2-NWS -\ Oe \

AFFIDAVIT

I, Clay M. Anderson, being first duly sworn, hereby depose and state as follows:

des I am a Special Agent with the Federal Bureau of Investigation (FBD, United
States Department of Justice, acting in my official capacity. I have been employed as a Special
Agent with the FBI since March 2009. Prior to joining the FBI, I served as a sworn Texas Peace
Officer for ten years. During my employment as an FBI Special Agent and as a Peace Officer
within the State of Texas, I have participated in numerous investigations involving violent crime,
including bank robberies, kidnapping, cargo thefts, extortions, threats, and harassments. I am
currently assigned to the FBI Cyber Task Force, and my duties include investigating computer-
related crimes. I have also attended FBI-sponsored training and have had communications with
law enforcement personnel who specialize in these areas.

2. Except as noted, all of the information contained in this affidavit is either known
to me personally or has been told to me by other law enforcement officials. As is detailed below,
there is probable cause to believe that Nelson Paul Replogle hired someone to murder his wife,
thereby violating Title 18, United States Code, Section 1958. This affidavit is being offered in
support of a complaint against Nelson Paul Replogle for murder for hire.

3. On April 20, 2021, I received information about a possible threat to life murder
for hire. I was told that members of the British Broadcasting Corporation (BBC) advised the FBI
that they had information they believed to be a threat to life. BBC members provided the name
and address of Ann Replogle, (hereinafter referred to as Victim) who was named as a target for a
murder for hire. The Knoxville FBI contacted the Knox County Sheriff's office and advised
them of the threat. The Knox County Sheriff's office sent deputies to the residence of the Victim

to verify her wellbeing. In addition, the Knoxville FBI sent Special Agents and Task Force
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Officers (TFO) to conduct an interview of the Victim and any other residents at the location.
Upon arrival, Agents and TFOs interviewed the Victim and her husband, Nelson Paul Replogle
(hereinafter referred to as Replogle), who both advised they could not think of anyone who
would want to harm the Victim. Replogle was separated and interviewed alone and advised he
did not solicit the murder of his wife and that he could not think of anyone who did.

4. While the interview was being conducted, I contacted the complainants and
requested further information. The complainants were able to provide transaction information
from an unnamed source that showed payment that was made with the understanding that an
unknown individual would murder the Victim while the Victim traveled from her residence to
the veterinarian’s office while taking her pet for an appointment. The information provided was
very specific about date, time, vehicle make, model, and color. The payment for the murder of
the Victim was made using the virtual currency Bitcoin and the date and time of the transaction
as well as the receiving Bitcoin wallet was provided. A Bitcoin wallet is used to store
cryptocurrency and can control multiple Bitcoin addresses. The wallet interfaces with the
blockchain and uses private keys to restrict access to spending Bitcoin.

5. Bitcoin! is a type of virtual currency, circulated over the Internet. Bitcoin are not
issued by any government, bank, or company, but rather are controlled through computer
software operating via a decentralized, peer-to-peer network. Bitcoin is just one of many
varieties of virtual currency.

6. Bitcoin are sent to and received from Bitcoin “addresses.” A Bitcoin address is

somewhat analogous to a bank account number and is represented as a 26-to-35-character-long

 

1 Since Bitcoin is both a currency and a protocol, capitalization differs. Accepted practice is to use "Bitcoin"
(singular with an uppercase letter B) to label the protocol, software, and community, and “bitcoin” (with a lowercase
letter b) to label units of the currency. That practice is adopted here.

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case-sensitive string of letters and numbers. Each Bitcoin address is controlled through the use
of a unique corresponding private key. This key is the equivalent of a password, or PIN, and is
necessary to access the funds associated with a Bitcoin address. Only the holder of an address’
private key can authorize transfers of bitcoin from that address to other Bitcoin addresses. Users
can operate multiple Bitcoin addresses at any given time and may use a unique Bitcoin address
for each and every transaction.

vi To acquire bitcoin, a typical user purchases them from a virtual currency
exchange. A virtual currency exchange is a business that allows customers to trade virtual
currencies for other forms of value, such as conventional fiat money (e.g., U.S. dollars, Russian
rubles, euros). Exchanges can be brick-and-mortar businesses (exchanging traditional payment
methods and virtual currencies) or online businesses (exchanging electronically transferred
money and virtual currencies). Virtual currency exchanges doing business in the United States
are regulated under the Bank Secrecy Act and must collect identifying information about their
customers and verify their clients’ identities.

8. To transfer bitcoin to another Bitcoin address, the sender transmits a transaction
announcement, which is electronically signed with the sender’s private key, across the peer-to-
peer Bitcoin network. To complete a transaction, a sender needs only the Bitcoin address of the
receiving party and the sender’s own private key. This information on its own rarely reflects any
identifying information about either the sender or the recipient. As a result, little-to-no
personally identifiable information about the sender or recipient is transmitted in a Bitcoin
transaction itself. Once the sender’s transaction announcement is verified by the network, the
transaction is added to the blockchain, a decentralized public ledger that records every Bitcoin
transaction. The blockchain logs every Bitcoin address that has ever received bitcoin and

maintains records of every transaction for each Bitcoin address.

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Ly While a Bitcoin address owner’s identity is generally anonymous within the
blockchain (unless the owner opts to make information about the owner’s Bitcoin address
publicly available), investigators can use the blockchain to identify the owner of a particular
Bitcoin address. Because the blockchain serves as a searchable public ledger of every Bitcoin
transaction, investigators can trace transactions to, among other recipients, Bitcoin exchangers.
Because Bitcoin exchangers generally collect identifying information about their customers, as
discussed above, subpoenas or other appropriate legal process submitted to exchangers can, in
some instances, reveal the true identity of an individual responsible for a Bitcoin transaction.

10. FBI Headquarters provided blockchain analysis of the transaction and was able to
determine that the Bitcoin wallets used to pay were CoinBase wallets. CoinBase was contacted
and a subpoena for records pertaining to those transactions was provided. CoinBase provided an
immediate response given the threat to life and was able to provide the owner of the wallets and
the transaction history for those wallets. The information provided by CoinBase shows Repogle
listed as the owner of the account and shows the transaction between Repogle and whomever is
behind the murder for hire website. In addition, CoinBase provided the registration information
to include photo identification and photos of the Suspect.

11. Along with registration and transaction information, CoinBase provided
connection logs that show multiple Internet Protocol (IP) connections to the IP version 6 (IPV6):
IPV6 2600:1700:3c40:6640:5c6e:8ac0:16f2:4577 with the latest connection being April 20,
2021. It was discovered that the above IPV6 belongs to AT&T who, upon exigent threat to life
request, provided the account information for that IP. The account belongs to Repogle and
resolves to Repogle’s home.

12. The Coinbase subpoena revealed that Repogle used a First Horizon bank account

to purchase the Bitcoin, so law enforcement contacted First Horizon and made an exigent request

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for banking information, which was provided with the understanding that a subpoena be issued at
a date as soon as was reasonable. The information provided by First Horizon corroborated the
information from CoinBase showing transactions from Repogle’s First Horizon personal savings
account (to which the Victim does not have access) to the CoinBase account with which the
would-be killer was paid.

13. Based upon the forgoing, there is probable cause to believe that Nelson Paul

Replogle violated Title 18, United States Code, Section 1958, murder for hire.

FURTHER AFFIANT SAYETH NAUGHT.

<I
Executed this~C4 “of April, 2021,
at Knoxville, Tennessee.

By Se
Ci fy M. Anderson
Special Agent
" Federal Bureau of Investigation

Subscribed and sworn to be me
on this /__ day of April, 2021.

Phy ae wae

HON. DEBRA C. POPLIN
UNITED STATES MAGIS TE JUDGE

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